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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------X
AARON PRY, individually and on behalf
of all others similarly situated,
                                            Plaintiff,
                                                                           Case No. 1:23-cv-04541
                          -against-


AUTO-CHLOR SYSTEM, LLC and
AUTO-CHLOR SYSTEM OF NEW
YORK CITY, INC.,
                                            Defendants.
-------------------------------------------------------------------X




             DEFENDANTS’ REPLY MEMORANDUM OF LAW IN FURTHER
                 SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
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                                          ARGUMENTS

       I.      THIS COURT SHOULD GRANT DEFENDANTS’ MOTION TO DISMISS
               PURSUANT TO FRCP 12(B)(1) AS THIS COURT LACKS SUBJECT
               MATTER JURISDICTION TO HEAR THIS DISPUTE

       Plaintiff concedes the federal courts are courts of limited jurisdiction and that the Plaintiff

bears the burden of proving that subject matter jurisdiction exists, particularly where the

Complaint exists entirely of one cause of action brought solely under state, not federal, law.

Kokkonen v. Guardian Life Ins. Co. of America, 511 U.S. 375, 377 (1994); Makarova v. United

States, 201 F.3d 110, 113 (2d Cir. 2000).


       Plaintiff further concedes that, to establish Article III standing and, thus, subject matter

jurisdiction, he must demonstrate (1) an injury in fact, (2) a sufficient causal connection between

the injury and the conduct complained of, and (3) a likelihood that the injury will be redressed by

a favorable decision.” Susan B. Anthony List v. Driehaus, 573 U.S. 149, 157-158 (2014).

Plaintiff agrees that, to demonstrate “injury in fact”, he “must show the invasion of a [1] legally

protected interest that is [2] concrete and [3] particularized and [4] actual or imminent, not

conjectural or hypothetical.” Strubel v. Comenity Bank, 842 F.3d 181, 188 (2d Cir. 2016).

Plaintiff similarly concedes that he cannot establish Article III standing by merely alleging a

statutory violation. Maddox v. Bank of N.Y. Mellon Tr. Co., 19 F.4th 58, 64 (2d Cir. 2021); see

also TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2205 (2021). Plaintiff finally concedes that,

where he has not suffered any physical, monetary or cognizable intangible harm, he has failed to

establish a concrete injury sufficient to demonstrate Article III standing to convey subject matter

jurisdiction to the federal courts to hear the dispute. Sevilla v. House of Salads One LLC, 2022

WL 954740 (EDNY 2022).

       While not disputing the foregoing, the Plaintiff simply alleges that he has supposedly
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suffered a nonspecific injury the brief seven day delay in payment on two occasions during his

one month tenure working for Auto-Chlor of New York City, Inc. and that, as a consequence, his

alleged entitlement to entitled to liquidated damages as a result of this purely statutory violation

should be sufficient to convey Article III standing to this Court. Defendants respectfully submit

that it does not.

        Indeed, as set forth fully in the Grant v. Global Aircraft Dispatch, Inc., 223 A.D.3d 712

(2d Dept. 2024) and as clearly established in the legislative history of NYLL §191, an employee

does not possess an express or implied right of action to sue for a statutory violation related to an

error in frequency of pay and may not seek liquidated damages under NYLL §198 as a

consequence thereof. Absent the Plaintiff’s right to seek liquidated damages under NYLL §198,

Plaintiff may not establish concrete injury in fact to establish Article III standing to sue in federal

court as Plaintiff admittedly has no other damages.

        Even if NYLL §191 did afford a private right of action, which Defendants submit it does

not, the Plaintiff does not properly establish how this Court has Article III standing merely

because a purely technical violation. See TransUnion LLC, supra at 2205. Indeed, having a

technical private right of action is not sufficient to convey Article III standing where there is no

concrete injury in fact. Id. This is particular so where, as here, the Plaintiff admittedly has no

actual damages as he concedes that he was, in fact, paid every cent to which he was entitled,

albeit on a biweekly basis.

        Furthermore, the entire concept that an employee paid everything he is entitled to, albeit

seven (7) days late, should entitle the employee to 100% of the wages he admittedly received is

flawed. Indeed, as noted in the Legislative History discussed in detail in Defendants’

Memorandum of Law and as evidenced by the proposed legislative amendments to NYLL
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§198(1-a) that are still pending before the Legislature, as well as the proposed amendments

introduced in the 2024-2025 Fiscal Year Budget, it is clear that the Legislature did not ever nor

does it not intend for an employee to receive a windfall of fifty (50%) of his wages for up to six

years for a technical violation. (See Weekly Pay Act, L. 1890, C. 388, §2, attached hereto as

Exhibit “F”; Fifth Annual Report of the Factory Inspectors (5-21-1890), attached hereto as

Exhibit “G”; Bill Jacket, L. 1966, c. 548 (1966), attached hereto as Exhibit “H”; NYS Dept. of

Labor Opinion Letter, attached hereto as Exhibit “I”; 2024-2025 Proposed Executive Budget,

Memorandum in Support, Part K, pp. 14-15, attached hereto as Exhibit “J”) Indeed, it is clear

from the Legislative History that the only recourse for such a technical violation is filing a

complaint with the Commissioner of Labor and imposition of a penalty payable to the State.

        Indeed, although it was removed from the Fiscal Budget as a compromise considering

that the proposed amendment was included in the Education Budget, the fact remains that the

Legislature, Governor of the State of New York and the Second Department perceive NYLL §198

to be fairly clear that an employee may not seek 100% liquidated damages for a technical

violation of NYLL §191 and that the only recourse is to file a complaint with the Department of

Labor for administrative enforcement. (See Part K, pp. 14-15, of Exhibit J) Furthermore, this

provision being removed from this year’s budget does not negate the fact that there is similar

legislation still pending before the Senate. Nevertheless, as the Governor of the State of New

York, the Legislature and the Second Department have all unequivocally stated that an employee

does not possess a private right of action to sue for a frequency of pay violation under NYLL

§191 or to seek liquidated damages under NYLL §198, it is readily apparent that Plaintiff has

suffered no injury, much less a concrete injury in fact warranting conveying Article III standing

in the federal courts.

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       II.     THIS COURT SHOULD GRANT DEFENDANTS’ MOTION TO DISMISS
               PURSUANT TO FRCP 12(B)(6) AS THE AMENDED COMPLAINT FAILS
               TO STATE A CAUSE OF ACTION UPON WHICH RELIEF MAY BE
               GRANTED


       Plaintiff acknowledges that Defendants may move to dismiss Plaintiff’s Complaint under

to FRCP 12(b)(6) where it fails to state a claim upon which relief can be granted. Plaintiff further

acknowledges that the more recent decision of the Appellate Division, Second Department, is

directly on point and holds that Plaintiff does not possess an implied or express private right of

action to sue for a frequency of pay violation under NYLL §191 or to seek liquidated damages

under NYLL § 198. See Grant v. Global Aircraft Dispatch, Inc., 223 A.D.3d 712 (2d Dept. 2024).

Plaintiff finally does not dispute that the Grant Decision took a more thorough and in depth look

at both the Legislative History underlying NYLL §§191 and 198, than the Vega Court and

contemplated the Court of Appeals precedent set in Konkur v. Utica Acad. of Sci. Charter Sch.,

38 N.Y.3d 38 (2022), when dismissing the action.

       Yet, Plaintiff asks this Court to ignore the more well thought out precedent and in depth

legislative history in Grant, to ignore the Court of Appeals precedent in Konkur, supra, and to

also ignore the clear indication from the Legislature and the Governor of the State of New York

that Vega got in wrong. Plaintiff asks this Court to ignore the foregoing because, without Vega,

Plaintiff admittedly has no case and no damages.

       However, Defendants respectfully request that this Court not disregard the through and in

depth analysis into the Legislative History found in Grant, something that is completely missing

from the Vega Decision. Defendant further asks this Court to similarly not disregard the fact that

both the New York State Legislature and the Governor of the State of New York have publicly

stated that the Vega Court got it completely wrong. Defendants further respectfully request that

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this Court not disregard the Court of Appeals ruling in Konkur that provided insight into how the

Court of Appeals will likely rule on whether an employee has a private right of action where

there is none expressly written in the statute. Alternatively, as discussed in Point III, infra, this

Court should stay this matter pending a decision by the New York State Court of Appeals on the

issue instead of guessing whether the Grant or Vega Courts were correct, just as a large number

of state and federal courts have done since Grant came out in January as the ruling of the Court

of Appeals in Grant will directly impact the decision in this case.

       III.    THIS COURT SHOULD STAY THIS MATTER AT THE VERY LEAST
               UNTIL THE COURT OF APPEALS DECIDES GRANT V. GLOBAL
               AIRCRAFT AND/OR THE PASSING OF THE 2025 FISCAL BUDGET
               WHICH STATES THAT AN EMPLOYEE MAY NOT MAINTAIN AN
               ACTION UNDER NYLL §198 (1-a) BASED PURELY UPON A
               FREQUENCY OF PAY VIOLATION UDNER NYLL §191 WHERE THE
               EMPLOYEE WAS PAID AT LEAST BI-WEEKLY


       Plaintiff acknowledges that this Court “has broad discretion to stay proceedings incident

to its power to control its docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997); see also Landis v.

N. Am. Co., 299 U.S. 288, 254 (1836); Loftus v. Signpost Inc., 464 F.Supp.3d 524, 526 (SDNY

2020), quoting Louis Vuitton Malletier S.A. v. LY USA, Incl, 676 F.3d 83, 86 (2d Cir. 2012).

Plaintiff further concedes that it is in the inherent power of this Court to stay proceedings

“pending the outcome of proceedings which bear upon the case, even if such proceedings are not

necessarily controlling” of the issues before the Court. Lasala v. Needham & Co., 399 F.Supp.2d

421, 427 (SDNY 2005). Plaintiff further acknowledges that the state and federal courts routinely

“exercise staying power when a higher court is close to settling an important issue of law bearing

upon the action.” Sikhs for Justice v. Nath, 399 F.Supp.2d 598, 622 (SDNY 2012); see also

Marshel v. AFW Fabric Corp., 552 F.2d 471, 472 (2d Cir. 1977); Leslie v. Thompson Reuters

Corp., 2023 WL 6173511, *2 (SDNY 2023); Goldstein v. Time Warner NYC Cable Group, 2
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F.Supp.2d 423 (SDNY 1998); Hoover v. HSBC Mort. Corp. (USA), 2014 WL 12781322, *2

(NDNY 2014).

         Plaintiff similarly acknowledges that the court consider the following factors in

 deciding whether to stay an action: “(1) the private interests of the plaintiffs in proceeding

 expeditiously with the civil litigation as balanced against the prejudice to the plaintiffs if

 delayed; (2) the private interests of and burden on the defendants; (3) the interests of the

 courts; (4) the interests of persons not parties to the civil litigation; and (5) the public

 interest.” Van Elzen v. Glob. Strategy Grp., LLC, 2021 WL 185328, at *2 (SDNY 2021),

 quoting Kappel v. Comfort, 914 F. Supp. 1056, 1058 (SDNY 1996)).

       Plaintiff finally acknowledges that the state and federal courts are staying matters brought

solely for technical violations NYLL §191 with increasing frequency after the decision in Grant

to await what the Court of Appeals will decide rather than guess whether they would side with

the Grant Court or the Vega Court. Indeed, it is undisputed that the state and federal courts have

determined with increasing frequency that a stay is prudent as the prejudice to the defendant

greatly outweighs any claim of prejudice by the plaintiff due to the fact that the plaintiff’s entire

standing will be determined by such decision.

       More particularly, as noted in Defendants’ opening brief, Judge Victor Marrero of the

Southern District of New York asked the parties in Urena v. Sonder USA Inc., 2024 WL 1333012

(SDNY 3/28/24), asked the parties to show cause as to why he should not issue a stay in that

matter where a decision of the Court of Appeals on this important issue was imminent. After the

matter was fully briefed, Judge Marrero determined that the aforementioned factors weighed

heavily in favor of staying the proceedings pending a decision of the Court of Appeals in Grant.

There, Judge Marrero found that the plaintiff could not claim that a stay would unduly prejudice


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him as he admittedly received all of the wages he was entitled to and was merely seeking a

statutory penalty. Id. at *2; OV Loop Inc. v. Mastercard Inc., 2023 WL 7905690, at *7 (SDNY

2023); Rovi Guides Inc. v. Comcast Corp., 2017 WL 4876305, at *5 (SDNY 2017).

       The Urena Court stated that the interest of the defendants, the courts, persons not parties

to the litigation and the public at large weighed heavily in favor of granting a stay to permit the

Court of Appeals to resolve the split in the departments rather than the federal courts attempting

to guess what the Court of Appeals will do particularly where such a ruling would be binding

upon the court and conclusively determine a key issue before the court. Id. at *2; Wisconsin v.

Mitchell, 508 US 476, 483 (1993) (“There is no doubt that [federal courts] are bound by a state

court's construction of a state statute.”); In re Gen. Motors LLC Ignition Switch Litig., 339 F.

Supp. 3d 262, 275 (SDNY 2018). The court further found that both the plaintiff and the defendant

would be prejudiced by expending additional time and resources litigating a claim that may be

rendered moot by the Court of Appeals Decision in Grant, thus, warranting stay not only to

preserve judicial resources but to also preserve the resources of the parties. Id. at *2; Leslie,

supra at *2 (Issuance of a stay is proper as it “would be an inefficient use of time and

resources of the Court and the parties to proceed in light of a pending [higher court] decision

that will significantly impact this litigation”); Hoover, supra at *2; see also Royal Park Invs.

SA/NV v. U.S. Bank Nat'l Assn., 2018 WL 3830921, at *2 (SDNY 2018) (acknowledging the

public interest in “avoiding extra [judicial] cost”).

       Even before the Grant Decision was handed down Southern District Judge Ronnie

Abrams granted a stay pending decision a Decision in Grant. See Sethy v. Victoria’s Secret

Stores, 23 Civ. 3452, 2023 U.S. Dist. LEXIS 124756 (SDNY 2023), attached hereto as Exhibit

“K”. More recently, on June 20, 2024, Judge Lisa S. Headley of the New York State Supreme


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Court in Dyshawn Colvin v. New You Bariatric Group LLC, NY Sup. Ct. Index No. 154686/2023,

stayed a similar matter pending before her where the entire case was premised upon NYLL §191

pending a decision of the Court of Appeals in Grant as said decision would have “a direct effect

on the court’s decision” in the matter. Dyshawn Colvin v. New You Bariatric Group LLC, NY

Sup. Ct. Index No. 154686/2023, Decision and Order (6/20/2024), attached hereto as Exhibit

“L”).

        In response to Defendants request in the case at bar that these proceedings be stayed as

Defendants will be unduly prejudiced should a stay be denied, Plaintiff merely asserts on page 22

of his Memorandum in Opposition that he will supposedly be prejudiced if a stay is imposed

without stating how, precisely, he will be prejudiced at all. Indeed, to the contrary, it is clear that

both the Plaintiff and the Defendants would be prejudiced if a stay is not imposed as the parties

will be forced to continue to incur additional expense in this matter unnecessarily where a

decision of the Court of Appeals resolving the split between the departments is imminent. As

wisely noted by Judge Marrero in Urena, the Plaintiff can claim no prejudice as he has

admittedly received every penny to which he is entitled and is merely seeking statutory damages

in the case at bar to which he may very well not be entitled as a result of the decision of the

Court of Appeals in Grant. Furthermore, Plaintiff cannot deny that judicial resources would be

unnecessary expended should this matter proceed and thereafter be mooted by the Court of

Appeals Decision in Grant. As precedent dictates that this Court should use its inherent power to

issue a stay where a final ruling of another court that directly affects the matter is imminent, it is

respectfully submitted that all factors weigh heavily in favor of issuing a stay should this Court

not grant dismissal.




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                                          CONCLUSION

       Defendants respectfully submit that Plaintiff’s allegations are an attempt to seek money

from his former employer for his termination upon which Plaintiff would not have otherwise

been successful in litigating. Plaintiff was employed for merely a month and is now seeking

compensation under a class action lawsuit as an attempt to cover up what would have been an

unsuccessful individual litigation. Plaintiff’s claims fail because (1) Plaintiff has failed to allege

an injury in fact in which Article III standing can be granted; (2) Plaintiff does not have a

private right of action to sue; and (3) Plaintiff is forbidden from recovering liquidated damages

in a class action. Thus, Plaintiff’s Complaint must be dismissed. Should this Court not grant

dismissal, this Court should exercise its inherent power to control its docket by staying this

proceeding pending a decision of the Court of Appeals in Grant.

Dated: Uniondale, New York
       June 24, 2024


                                               SAHN WARD BRAFF KOBLENZ
                                               COSCHIGNANO PLLC
                                               Attorneys for Defendants

                                                By: __________________________________
                                                       DANIELÉ D. DE VOE




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